Case 2:19-cv-02374-KJM-EFB Document6 Filed 05/13/20 Page 1 of 16

UNITED STATES DISTRICT COURT DISTRICT OFEASTERN
CALIFORNIA
GARRISON JONES Plaintiff,)

) CASE NUMBER 2:19-CV-02374 -KJM-EFB

) |
VELhvel LY, TECHNOLOBY SOLUTIONS et al. ) F I L E D
Defendants. | MAY 1 3 2020

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TRICT OF CALIFORNIA
PLAINTIFF MOTION FOR COSTS OFSERVICE i .

On this day May 10, 2020, the Plaintiff, Garrison Jones, moves the court
to collect the costs of service of the Complaint and notice of Lawsuit ané —
Request to waive Service of Summons against Defendants Velocity
Technology Solutions et al
, The Plaintiffs seek not only $65.00 for the cost of service of process, but
also for
a. Postage in the amount of - $47.00 for varies postage fees
USPS Certified mail and Priority Mail as well as
b. Mileage/ Transportation cost in the amount of $21.06 standard
mileage reimbursement

c. regular postage in the amount of $17.00
d. Word Processing preparation cost $300.00
e. Copy paper cost of $ 9.00
f. Mailing envelope cost of $7.17

For a grand total cost. $504.29

. Because the Defendants have failed to demonstrate good cause within
the meaning of Rule 4(d)(2) for their failure repeated failure to return the
waiver of service forms, on (3) separate occasions.

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Per FRCP Rule 4 (d)
“makes abundantly clear that a defendant’s duty to avoid unnecessary
costs of service.
Per FRCP Rule 4 (g) (2) Failure to Waive |
the defendant who is located in the United States fails, without good cause
to sign and return a waiver request by a plaintiff located in the United
States, the court must impose on the defendant
(a) The expense incurred in making the service and
(b) Reasonable expenses of any motion required to collect those
expenses.
It is clear that the defendants on each occasion that the plaintiff sent these
documents that they did in fact received them and intentionally did not
respond. |

On November 25 2020, the Plaintiffs filed a Complaint against Velocity

Technology Solutions et al in the, United States District Court District Of
Eastern California.

On November 27, 2020 the Plaintiff mailed via USPS Certified mail the
defendants a Copy of the complaint and “Waiver of Service of Summons”
form, which informed them that a law suit had been initiated against them
and requested that the defendant to waive service.

USPS receipt verifies this fact
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The waiver form informed the Defendant that they were allowed 30 days
from November 27, 2019 to file the executed waiver form and if they
failed to do so, the Plaintiffs would take “appropriate steps to effect formal
service in a manner authorized by the Federal Rules of Civil Procedure
and will then, to the extent authorized by those Rules, ask the court to
require you ... to pay the full costs of such service.”

Plaintiff on December 2, 2019 received notification and verification from
USPS that his Certified Mail sent on November 27, 2019 was delivered to
defendant at their place of business Velocity Technology Solutions 1901
Boxborough Road, Charlotte, North Carolina 28211. USPS confirmation
of delivery confirms fact.
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Rem

Tracking Number: 70190700000161765213

Your item was delivered to an individual at the address at 11:25 am on December 2, 2019 in
CHARLOTTE, NC 28211.

¢Y Delivered
December 2, 2019 at 11:25 am

Delivered, Left with Individual
CHARLOTTE, NC 28211

Get Updates v

In retrospect to the statements by defendant attorney in his motion and
based on the fact that the defendants failed to return waiver per Rule 4 (4)
Results of Filing a Waiver, which the plaintiff did on December 11, 2019

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"40.298 (Rev. OLA) Notes of a Lawauk sad Request io Waive Service of Sumas FILED
UNITED STATES DistrictCourT 11208
for the CLERK, U8. DISTRICT COURT

EASTEAN DISTRICT OF CALIFORNIA
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NOTICE OF A LAWSUIT AND REQUEST TO WAIVE SERVICE OF A SUMMONS

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Civil Action No, a ’ } Y ~ CU- 2374
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When the plaintiff files a waiver, proof of service is not required, these

rules apply as if a summons, and complaint has been served at the
time of filing.

Defendants’ arrogance was again in play and they felt as in the defendant
attorney statement

Because service of process has not been properly effected, Velocity is not required to respond to
the Complaint.

This statement is erroneous and far from the truth as defendants were served as of December 11,
2019

Therefore, as of December, 11, 2019 the defendants had been served with
the complaint and summons of this case and at they had at least 30 days to
respond. The expiration of that time period was January 11, 2020 and as
of that date, defendant was in default status and a default judgement was
in order to be entered.

However, and again begging the courts understanding. The plaintiff
wanted the defendants to plead, make a counter claim, or respond to the
complaint, which in their history they have never done. However, in order
to get them to make a pleading the plaintiff was reminded of the
underhanded tactics the defendants have used in the past by using his
communication to go behind his back and use his due diligence and facts
to “poison” the witnesses he had contact or counter the evidence by giving
telling lies to potential witnesses, tampering with, moving and or deleting
evidence. He was also reminded of the vicious nature they did this week
and then after they were caught lying, “went silent and dark” and never
responded again.
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Therefore, in this analogy, in order to get the defendants out of the hole
they had dug themselves in; the plaintiff had to offer them a form of bait,
in order to draw them out.

Even though he did not have to .the plaintiff seeing that they did not
respond to the waiver, offered them the bait of again serving them for the
third time by having their registered agent served with the complaint.

Just like a “shark” in the water who thinks he smells blood, the defendants
saw the opportunity to at the last minute, crawl out of their hole and when
they prey is unaware and with his back turned, they chose to attack with

~ Vicious intent and filed this weak motion with the court at the last minute
of what they think is 1 day that they would be in default and makes the
claim that they came out of their hole “because they

brings this motion out of an abundance of caution, in order to prevent any
possibility of entry of default.

As expected once they crawled out of their hole, they went “straight for the jugular”
to once again kill they prey/plaintiff once and for all by

Asking the court to dismiss his complaint with prejudice and still oblivious to the
fact that the affidavit of service was a strategical move to flush them out and it was
successful just as it has been in the past where the plaintiff sent them
communication and they immediately pounced on it not taking their time and
checking their surroundings, only saw blood in the water, not realizing that the
“blood in the water was not of the “prey” it was their own. Now they are exposed.
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Rule 4(d) (2) provides:

If a defendant located within the United States fails to comply with a
request for waiver made by a plaintiff located within the United States, the
court shall impose the costs subsequently incurred in effecting service on
the defendant unless good cause for the failure be shown.

Fed. R. Civ. P. 4(d) (2). Absent “good cause,” the imposition of costs is
mandatory. Id. (“[{T]he court shall impose the costs....”) (emphasis
supplied).

This provision applies to these defendants. Fed. R. Civ. P. 4(d) (2) The
waiver of service provisions of Rule 4(d) apply to those “subject to service
under subdivision subsection (j). Fed. R. Civ. P. 4(j).to agencies,
corporations.

The Rule itself imposes a “duty” on the defendant served with a waiver
request “to avoid unnecessary costs of serving the subpoena” and limits
acceptable excuses for not doing so to “good cause.” Fed. R. Civ. P. 4(d)
(2).

The defendants have never filed or responded with any motion or pleading
that indicated “good cause” for failure to comply with a request for waiver
nor has the USPS returned any of the certified mail, USPS Priority mail
sent to the defendants as undeliverable. The defendants lied when they
were contacted by the plaintiff claiming they did not receive the request.
All defendants are insufficiently literate in English to understand it. Id.
None of the Defendants has demonstrated “good cause” within the
meaning of Rule 4 and the Plaintiffs are entitled to be reimbursed for the
costs of service in accordance with Rule 4(d)(5).3

While Rule 4(d) (5) controls the awarding of attorney’s fees:, this is not
applicable as the plaintiff has appeared pro se, however there are

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underlying circumstances where based solely on the defendants history of
ignoring the law and ignoring all communications and court orders that are
not in their favor, the plaintiff has to include in his motion and the order
from the court. Special Circumstance for compliance fees and
penalties.

The plaintiff is entitled to the same fees that the defendant is being
charged by their attorney similar to the fees on the invoice from Ogletree
Deakins as illustrated below. In addition, in the event that the defendants
fail or delay to pay the above fees in the amount on the motion that a daily

late fee is applicable until the amount is paid. These fees are similar to the
fees illustrate below

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A6TS)-400001-TAF

| Date Initiates «= Dcacription Hours Amount
ONVIVEE TAF Evaluate 3% £,347.50
OSE AA) Review - al 32.90
Osan TAF Review 3.00 1,155.00
OS2AL AA ‘Telephone calls with Depactment of Funion 2.30 1,072.50
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ast PIS Asscm : 0.90 29250

Gxt TAP . Wort 2.00 1,135.80
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These fees are outlined because the plaintiff is again pro se and acting as
his own attorney, however he has rendered the same services and expenses
that are normally expensed and equally should be reimbursed for same.
Each relevant expense will be assessed each day at an expense of 1 hour
per category per day.

Review rate - $385.00
Evaluate rate $500.00
Legal research - $385.00

Computer research $125.00

 

~ Total _———=—s« $1395.00 per day late fee
These fee costs to be imposed on a defendant under paragraph (2) for
failure to comply with a request to waive service of a summons shall

include the costs subsequently incurred in effecting service under
subdivision (e), (f), or (h)

WHEREFORE, plaintiff prays that this court t grant this motion to recover cost of
service against the defendants with an order to include

Special Circumstance for compliance fees and penalties.

AFFIDAVIT

Garrison Jones, Plaintiff, do hereby Respectfully submitted,
certify that the statements and allegations or tine (Vpn
set forth in the motion to be filed true and KRRI

~ accurate to the best of our knowledge and G SON JONES, PLAINTIFF

belief. Garrison.jones@outlook.com
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AO 398 (Rev. 01/09) Notice of « Lawsuit and Request to Waive Service of a Suaunons __ _ _ FILED __

 

UNITED STATES DISTRICT CourT DEC 11 208
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Defendant O’S

NOTICE OF A LAWSUIT AND REQUEST TO WAIVE SERVICE OF A SUMMONS

civit Action No. ) * / ~ CU- 2374

To:
(Name of the defendant or - if the defendant isa corporation, partnership, or association - an officer or agent authorized to receive service}

 

Why are you getting this?

A lawsuit has been filed against you, or the entity you represent, in this court under the number shown above.
Acopy of the complaint is attached.

This is not a summons, or an official notice from the court. . It is a request that, to avoid expenses, you waive formal
service of a summons by signing and returning the enclosed waiver. To avoid these expenses, you must return the signed
waiver within ——s_—s days (give at least 30 days, or at least 60 days if the defendant is outside any judicial district of the United States)
from the date shown below, which is the date this notice was sent. Two copies of the waiver form are enclosed, along with
a stamped, self-addressed envelope or other prepaid means for returning one copy. You may keep the other copy.

What happens next?

If you return the signed. waiver, 1 will file it with the court. The action will then proceed as if you had been served
on the date the waiver is filed, but no summons will be served on you and you will have 60 days from the date this notice

is sent (see the date below) to answer the complaint (or 90 days if this notice is sent to you outside any judicial district of
the United States).

If you do not return the signed waiver within the time indicated, I will arrange to have the summons and complaint
served on you. And I will ask the court to require you, or the entity you represent, to pay the expenses of making service.

Please read the enclosed statement about the duty to avoid unnecessary expenses.
I certify that this request is being sent to you on the date below.

«

 

 

Date:
Signature of the a attorney fy resented party
pgeis oot NOMES
Printed name
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2374-KJM-EFB, Document 6 Filed 05/13/99 Pa @.12 of 13

voice #6387."

  

PO Box 1863
Raleigh, NC 27602

919 961 2195
info@blackdoglegal.com

www.BlackDogLegal.com 49),

Invoice Date: 4/15/2020
Invoice Terms: Due on receipt
Client Number: Pro Se

acramento Cp

Date Hern Description Qty/Min Rate Subtotal
4/13/2020 Service Complaint- Velocity Technology Solutions c/o RA CSC, Raleigh: Served on Colleen Walsh, rep for 1.65.00 «65.00»
csc .
Total: $65.00
Payment Please make checks Questions If you have any questions Thank you for choosing Biack Dog Agency
payable to Black Dog Agency, LLC. about your bill, please contact us at your os
A 10% late fee will be charged for convenience and we would be happy ta Please visit us at ‘BlackDogLegal.com
payments received later than 30 help.

days of receipt of this invoice.

www. BlackDogLegal.com b
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November 27, 2019, 9:31 pm
Arrived at USPS Regional Origin Facility
SACRAMENTO CA DISTRIBUTION CENTER

 

November 27, 2019, 11:47 am
USPS in possession of item
SACRAMENTO, CA 95818

Product Information

See Less
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Tracking Number: 70190700000161765213 |

Your item was delivered to an individual at the address at 11:25 am on December 2, 2019 in
CHARLOTTE, NC 28211.

Status

Delivered —

December 2, 2019 at 11:25.am
Delivered, Left with individual
CHARLOTTE, NC 28211

Get Updates

Delivered

Text & Email Updates

Tracking History

December 2, 2019, 41:25 am

Delivered, Left with Individual

CHARLOTTE, NC 28211

Your item was delivered to an individual at the address at 11:25 am on December 2, 2019 in CHARLOTTE, NC
28211.

December 2, 2019, 9:32 am
Arrived at Unit
CHARLOTTE, NC 28205

 

December 2, 2019, 4:30 am
Arrived at USPS Regional Destination Facility
MID CAROLINA-CHARLOTTE NC DISTRIBUTION CENTER

December 1, 2019, 9:42 am
Arrived at USPS Regional Destination Facility
CHARLOTTE NC DISTRIBUTION CENTER

 

November 30, 2019
in Transit to Next Facility

 

 
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garrison jones@outlook.com

From: PayPal <service@paypal.com>
Sent — Wednesday, April 15, 2020 2:27 PM
To: Garrison Jones

Subject:

Your receipt for payment to Black Dog Agency, LLC

 

 

 

You paid $65.00 USD to
Black Dog Agency, LLC
—_

Thanks for using PayPal, Garrison Jones

 

Create a PayPal account in just a few seconds so every checkout is a snap!

 

 

Payment details
For your purchase on April 15, 2020

Details

 

$65.00 USD

Subtotal $65.00 USD
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4:40 2574 wee

: . Name
ORIGINAL - Street Address |

Cityand County Apacho Car d

ve : io | State and Zip Code Ske Gg
STHIGT CR CASHOUMIA Telephone Number g ye ) so) _ 9

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(Write the full name of each plaintiff who i:
this complaint, Lf the names of ail the plair
cannot fit in the space above, please write
attached” in the space and attach an addin
page with the full list of names.)

_ -against- ;
Jil OC ates Kecluclorg y
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(Write the full name of each defendant who
being sued. If the names of all the defendar
cannot fit in the space above, please write '
atlached” in the space and attach an additi
page with the full list of names.)

 

 

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